                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                   No. 5:19-CV-248-BO

    PUBLIC INTEREST LEGAL FOUNDATION,
    INC.,

                            Plaintiff,
                                                                     ANSWER TO
              v.                                              FIRST AMENDED COMPLAINT

    KAREN BRINSON BELL, in her official capacity
    as Executive Director of the North Carolina State
    Board of Elections; and NORTH CAROLINA
    STATE BOARD OF ELECTIONS;

                            Defendants.

         Defendant Karen Brinson Bell, in her official capacity as Executive Director of the North

Carolina State Board of Elections, hereby answers the First Amended Complaint filed in this

matter (Doc. 17). Prior Defendant North Carolina State Board of Elections was dismissed from

this matter on October 17, 2019 (Docs. 29, 31), a decision that Plaintiff did not appeal, (see Doc.

35 at 9 n.3). Defendant Bell answers the First Amended Complaint’s allegations as follows:

                                  JURISDICTION AND VENUE1

         1.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331,

becausethe action arises under the laws of the United States. This Court also has jurisdiction

under 52 U.S.C. § 20510(b), as the action seeks injunctive and declaratory relief under the

NVRA.

         RESPONSE: These allegations are legal conclusions which require no response.


1
       Headings and numbered allegations from the Amended Complaint are included for
informational and organizational purposes only, and do not indicate adoption or admission of the
headings or allegations by the Defendant.
       2.      Venue in this Court is proper under 28 U.S.C. § 1391(b)(1), because the

Defendants reside in this district, and under 28 U.S.C. § 1391(b)(2), because a substantial part

ofthe events or omissions giving rise to the claim occurred in this district.

       RESPONSE: It is admitted that Defendant Bell resides in this district and that part of

the events or omissions giving rise to the claim occurred in this district. The remaining

allegations are legal conclusions which require no response.

                                            PARTIES

       3.      The Public Interest Legal Foundation, Inc., (the “Foundation”) is a non-

partisan,public interest organization incorporated and based in Indianapolis, Indiana. The

Foundation seeks to promote the integrity of elections nationwide through research, education,

remedial programs, and litigation. The Foundation regularly utilizes the NVRA’s Public

Disclosure Provision and state and federal open records laws that require government records

be made available to the public. Using records and data compiled through these open records

laws, theFoundation produces and disseminates reports, articles, blog and social media posts,

and newsletters in order to advance the public education aspect of its organizational mission.

       RESPONSE: It is admitted that Plaintiff has used records and data obtained from

official sources to produce and disseminate reports and articles. Otherwise, Defendant lacks

knowledge or information sufficient to form a belief about the truth of these allegations.



       4.      Defendant Karen Brinson Bell is the Executive Director of the State Board of

Elections. Defendant Brinson Bell is the Chief State Elections Official of North Carolina for

purposes of the NVRA and is responsible for administration of North Carolina’s election laws

and coordination of State responsibilities under the NVRA. N.C. Gen. Stat. § 163-27; N.C.
                                                  2
Gen.Stat. § 163-82.2. See also, 52 U.S.C. § 20509. Defendant Brinson Bell is responsible for

compliance with the NVRA, including the Public Disclosure Provision, 52 U.S.C. § 20507(i).

        RESPONSE: It is admitted that Defendant Bell is the Executive Director of the North

Carolina State Board of Elections. The remaining allegations are legal conclusions which

require no response. The legal citations in the allegations speak for themselves and are the

best evidence of their contents.



        5.      Defendant North Carolina State Board of Elections is the state agency

responsiblefor the administration of North Carolina’s election laws. See, e.g.. N.C. Gen. Stat. §

163-22. The North Carolina State Board of Elections is responsible for overseeing elections

and supervising and maintaining voter registration and election records. Defendant North

Carolina State Board ofElections is responsible for compliance with the NVRA, including the

Public Disclosure Provision, 52 U.S.C. § 20507(i).

        RESPONSE: It is admitted that Prior Defendant North Carolina State Board of

Elections is a state agency. The remaining allegations are legal conclusions which require no

response. The legal citations in the allegations speak for themselves and are the best evidence

of their contents.



        6.      Defendants are collectively referred to as “State BOE” throughout this

AmendedComplaint. Unless otherwise specified, all allegations in this Amended Complaint

are made against all Defendants.

        RESPONSE: This is not a factual allegation that requires a response, except to

acknowledge that there is only one Defendant in this action, because the State Board of


                                                 3
Elections was dismissed with finality.



         7.     Under 52 U.S.C. § 20507(i), the State BOE is required to maintain all records

related to registration list maintenance activities for at least two years and must permit public

inspection of all such records.

         RESPONSE: These allegations are legal conclusions which require no response.



         8.     The State BOE is a custodian of the requested records.

         RESPONSE: It is admitted that the State Board is a custodian of some of the requested

records. Otherwise denied.

                                         BACKGROUND

         9.     This is a public records case. More than nine months ago, the Foundation

requested access to records that federal law entitles the Foundation to inspect and photocopy.

Defendants are admittedly denying the Foundation access to the requested records. The

Foundation now has no recourse but to seek relief from this Court.

         RESPONSE: It is admitted that Plaintiffs seek records that are kept by public agencies,

but it is denied that all of those records are “public records,” as that term is construed in the

law. It is admitted that in the fall of 2018, the Foundation requested access to records, and the

State Board provided certain records and denied access to certain records. Whether federal

law entitles the Foundation to inspect and photocopy any of the requested records is a legal

conclusion which requires no response. Defendant lacks knowledge or information sufficient

to form a belief about whether the Foundation had no recourse but to seek relief from this

Court.


                                                   4
        10.     The governing statute is more than just a federal freedom of information law.

Rather, upon request, election administration officials must “make available for public

inspection . . . all records concerning the implementation of programs and activities conducted

for the purpose of ensuring the accuracy and currency of official lists of eligible voters.” 52

U.S.C. § 20507(i)(1) (emphasis added) (hereafter, the “Public Disclosure Provision”).

        RESPONSE: These allegations are legal conclusions which require no response. The

legal citation in the allegations speaks for itself and is the best evidence of its contents.



        11.     The Public Disclosure Provision confers on the Foundation and every

individual “a public right to information.” Project Vote/Voting for Am., Inc. v. Long, 752 F.

Supp. 2d 697, 703 (E.D. Va. 2010). “[A] statutory right to information is substantive” in kind,

Landrum v. Blackbird Enters., LLC, 214 F. Supp. 3d 566, 571 (S.D. Tex. 2016), and thus a

violation of that right creates an informational injury sufficient to establish Article III standing,

FEC v. Akins, 524 U.S. 11, 21 (1998) (“[A] plaintiff suffers an ‘injury in fact’ when the

plaintiff fails to obtaininformation which must be publicly disclosed pursuant to a statute”).

        RESPONSE: These allegations are legal conclusions which require no response. The

legal citations in the allegations speak for themselves and are the best evidence of their

contents.



        12.     The Fourth Circuit Court of Appeals instructs that the Public Disclosure

Provisionis to be interpreted broadly, explaining that the NVRA’s “use of the word ‘all’ [as a

modifier] suggests an expansive meaning because ‘all’ is a term of great breadth.” Project


                                                   5
Vote / Voting forAm., Inc. v. Long, 682 F.3d 331, 336 (4th Cir. 2012). The Public Disclosure

Provision’s “language embodies Congress’s conviction that Americans who are eligible under

law to vote have every right to exercise their franchise, a right that must not be sacrificed to

administrativechicanery, oversights, or inefficiencies.” Id. at 334-35. Accordingly, “the NVRA

requires disclosure of all materials described in Section 8(i)(1), including voter registration

records.” Id.at 337 (emphasis added).

         RESPONSE: These allegations are legal conclusions which require no response. The

legal citations in the allegations speak for themselves and are the best evidence of their

contents.



         13.    As recently articulated by the Southern District of Florida, Congress intended

thatthe NVRA’s inspection rights would allow the public to monitor the activities of

government as they concern the right to vote:

         [The NVRA’s Public Disclosure Provision is] available to any member of the
         public … and convey[s] Congress’s intention that the public should be
         monitoringthe state of the voter rolls and the adequacy of election officials’ list
         maintenance programs. [52 U.S.C. § 20507(i)]. Accordingly, election officials
         must provide full public access to all records related to their list maintenance
         activities, including their voter rolls. Id. This mandatory public inspection right
         is designed to preserve the right to vote and ensure that election officials are
         complying with the NVRA. Project Vote v. Long, 682 F.3d. 331, 335 (4th Cir.
         2012).

Bellitto v. Snipes, No. 16-cv-61474, 2018 U.S. Dist. LEXIS 103617, at *8 (S.D. Fla. Mar.30,

2018).

         RESPONSE: These allegations are legal conclusions which require no response. The

legal citations in the allegations speak for themselves and are the best evidence of their

contents.


                                                   6
        14.     According to this Court, “to the extent [Defendant] maintains records

concerningimplementation of its list maintenance activities . . . [it] is required to make such

records available for public inspection.” Voter Integrity Project NC, Inc. v. Wake Cty. Bd. of

Elections, 301 F. Supp. 3d 612, 618 n.5 (E.D.N.C. 2017).

        RESPONSE: These allegations are legal conclusions which require no response. The

legal citation in the allegations speaks for itself and is the best evidence of its contents.



        15.     The State BOE, who is charged with the administration of the voter registration

and elections process, is not complying with the NVRA’s Public Disclosure Provision. By

denying the Foundation access to the requested records, the State BOE is causing a concrete

injury to the Foundation in violation of the Foundation’s right to information conferred by the

NVRA and is frustrating the Foundation’s organizational mission. To remedy its ongoing

injury,the Foundation seeks declaratory and injunctive relief from this Court. Specifically, the

Foundation seeks a declaration that the requested records are subject to public inspection under

the NVRA. The Foundation also seeks an order compelling the State BOE to comply with the

NVRA’s Public Disclosure Provision through an order commanding the State BOE to permit

inspection and duplication of all requested records in its actual and constructive possession.

        RESPONSE: These allegations are legal conclusions which require no response. It is

denied that Plaintiff is entitled to any relief.



        16.     The NVRA’s Public Disclosure Provision provides:

                 Each State shall maintain for at least 2 years and shall make available
                                                   7
         for public inspection and, where available, photocopying at a reasonable cost,
         all records concerning the implementation of programs and activities conducted
         for the purpose of ensuring the accuracy and currency of official lists of eligible
         voters, except to the extent that such records relate to a declination to register to
         vote or tothe identity of a voter registration agency through which any
         particular voter is registered.

         52 U.S.C. § 20507(i)(1); see also Project Vote v. Long, 682 F.3d 331, 337 (4th Cir.

 2012) (“First,the statute clearly states that ‘all records’ falling under Section 8(i)(1) must be

 publicly disclosed, not just those explicitly listed in Section 8(i)(2)”) (emphasis in original).

        RESPONSE: These allegations are legal conclusions which require no response. The

legal citations in the allegations speak for themselves and are the best evidence of their

contents.



         17.     The only records exempted from the NVRA’s Public Disclosure Provision are

 “records relate[d] to a declination to register to vote or the identity of a voter registration

 agencythrough which any particular voter is registered.” 52 U.S.C. § 20507(i)(1).

        RESPONSE: These allegations are legal conclusions which require no response. The

legal citation in the allegations speaks for itself and is the best evidence of its contents.



        18.     The NVRA’s civil enforcement provision allows for a private right of action by

any person “aggrieved by a violation,” after providing, if necessary, “written notice of the

violation to the chief election official of the State involved.” 52 U.S.C. § 20510(b).

                If the violation is not corrected within 90 days after receipt of a notice . . .
        or within20 days after receipt of the notice if the violation occurred within 120
        days before the date of an election for Federal office, the aggrieved person may
        bring a civil action in an appropriate district court for declaratory or injunctive
        relief with respect to the violation.

        52 U.S.C. § 20510(b)(2).

                                                    8
       RESPONSE: These allegations are legal conclusions which require no response. The

legal citations in the allegations speak for themselves and are the best evidence of their

contents.



       19.     However, “[i]f the violation occurred within 30 days before the date of an

electionfor Federal office, the aggrieved person need not provide notice to the chief election

official of the State under paragraph (1) before bringing a civil action under paragraph (2).” 52

U.S.C. § 20510(b)(3).

       RESPONSE: These allegations are legal conclusions which require no response. The

legal citations in the allegations speak for themselves and are the best evidence of their

contents.



       20.     A person is “aggrieved” by a violation of the Public Disclosure Provision if the

person is denied access to records to which he is entitled under the NVRA.

       RESPONSE: These allegations are legal conclusions which require no response.




       21.     In North Carolina, list maintenance records are maintained by state and county

officials using a statewide computerized voter registration system, which facilitates voter

registration and provides a central database containing voter registration information for each

county. N.C. Gen. Stat. § 163-82.11.

       RESPONSE: Admitted. The legal citation in the allegations speaks for itself and is the

best evidence of its contents.


                                                 9
       22.     The State BOE is required to “adopt a uniform program that makes a diligent

effort not less than twice each year . . . [t]o remove the names of ineligible voters from the

official lists of eligible voters.” N.C. Gen. Stat. § 163-82.14(a).

       RESPONSE: Admitted. The legal citation in the allegations speaks for itself and is the

best evidence of its contents.



       23.     The State BOE “has the authority to perform list maintenance…with the same

authority as a county board.” N.C. Gen. Stat. § 163.82-14(e).

       RESPONSE: Admitted. The legal citation in the allegations speaks for itself and is the

best evidence of its contents.



       24.     The State BOE coordinates with the North Carolina Division of Motor Vehicles

(“DMV”) to identify registered voters who have indicated to DMV that they do not satisfy the

citizenship qualification to register and vote. See Exhibit A (report of audit conducted after

2016General Election).2 Each such registrant is sent a notice asking for confirmation of his or

her citizenship status. Registrants who fail to respond to the inquiry are removed from the lists

ofregistrants who are eligible to vote. Records related to those activities are responsive to the

Foundation’s request and must be made available under the Public Disclosure Provision.


2
  See also, e.g., Letter from State BOE Executive Director Gary Bartlett to North Carolina
HouseElections Committee, Attachment B at 6, March 11, 2013, available at,
https://www.ncleg.gov/documentsites/committees/JointAppropriationsGeneralGovernment/20
13%20Session/03-07-13%20Meeting/sbe_GA_response_with_attachments.pdf (last accessed
Aug.2, 2019) (describing DMV audit to identify and remove noncitizens who are registered to
vote).

                                                  10
        RESPONSE: It is admitted that the State Board coordinates with the North Carolina

Division of Motor Vehicles (“DMV”) on voter list-maintenance activities, but it is denied that,

which respect to the information from DMV that the State Board relied on to identify potential

noncitizens on the voter rolls, DMV customers indicate to DMV that they do not satisfy the

citizenship qualification to register and vote. Exhibit A and the document cited in the footnote

speak for themselves and are the best evidence of their contents. Whether the records

discussed in these allegations must be made available under the NVRA is a legal conclusion

which requires no response. The remaining allegations are denied.




         25.    The State BOE coordinates with the U.S. Department of Homeland Security

 and the U.S. Citizenship and Immigration Service to identify registrants who do not satisfy

 the citizenship qualification to register and vote. Exhibit G at 2-3. Records related to those

 activities are responsive to the Foundation’s request and must be made available under the

 Public Disclosure Provision.

        RESPONSE: It is admitted that the State Board has coordinated with U.S. Citizenship

and Immigration Services, which is an agency of the U.S. Department of Homeland Security,

to identify registrants who may not satisfy the citizenship qualification to register and vote. It

is denied that this effort, by itself, can determine if a registrant does not satisfy the citizenship

qualification to register and vote. The cited exhibit speaks for itself and is the best evidence of

its contents. Whether the records discussed in these allegations must be made available under

the NVRA is a legal conclusion which requires no response.




         26.    On information and belief, the State BOE has engaged and is engaging in

                                                   11
    other programs and activities conducted to identify and remove ineligible registrants from

    the registration rolls, including registrants who do not satisfy the necessary citizenship

    requirements. Records related to those activities are responsive to the Foundation’s request

    and must be made available under the Public Disclosure Provision.

          RESPONSE: It is admitted that the State Board has engaged and is engaging in other

programs and activities conducted to identify and remove ineligible registrants from the

registration rolls. Otherwise denied.




          27.     United States citizenship is a requirement to register and to vote in North

Carolina. N.C. Gen. Stat. §§ 163-55(a); 163-54.

          RESPONSE: Admitted.



           28.    In 2014, the State BOE reported that it “completed an audit of more than

    10,000 registered voters with questionable citizenship status. The Agency analyzed data

    provided by the N.C. Division of Motor Vehicles and the U.S. Department of Homeland

    Security to flag 1,425 currently registered voters who are likely non-citizens.”3

          RESPONSE: It is admitted that in 2014, the State Board issued the cited press

release, which speaks for itself and is the best evidence of its contents.



           29.    In April 2017, the State BOE issued the Post-Election Audit Report for



3
  Press Release, North Carolina State Board of Elections, Board of Elections finalizes citizenship
audit, Oct. 24, 2014, https://www.ncsbe.gov/press-releases?udt_2226_param_detail=15.

                                                    12
    GeneralElection 2016. Exhibit A. The audit’s Summary provides:

                41 non-citizens with legal status (green card, etc.) cast ballots.
         The StateConstitution only permits U.S. citizens to register and to vote. The
         audit pairing state and federal databases identified an additional 34 voters who
         provided documents showing they are U.S. citizens. Investigators continue to
         review 61 additional records.
         Exhibit A at 3 (bolded language in original).
         RESPONSE: It is admitted that in April 2017, the State Board issued the Post-Election

Audit Report, General Election 2016. Exhibit A speaks for itself and is the best evidence of its

contents.




         30.    In August 2018, federal prosecutors charged 19 foreign nationals with

registeringto vote and voting illegally in North Carolina in the 2016 presidential election.4

         RESPONSE: Defendant lacks knowledge or information sufficient to form a belief

about the truth of these allegations. The cited press release from the U.S. Attorney’s Office

speaks for itself and is the best evidence of its contents.




         31.    On September 10, 2018, the Foundation sent letters via email to the county

boardsof elections for the counties of Durham, Guilford, and Forsyth. Copies of these letters

are attached as Exhibit B.

         RESPONSE: Admitted. Exhibit B speaks for itself and is the best evidence of its

contents.


4
  Press Release, U.S. Attorney’s Office, Eastern District of North Carolina, Nineteen Foreign
Nationals Charged for Voting in 2016 Election, Aug. 24, 2018, https://www.justice.gov/usao-
ednc/pr/nineteen-foreign-nationals-charged-voting-2016-election.

                                                  13
        32.     Citing the NVRA’s Public Disclosure Provision of the NVRA, 52 U.S.C. §

20507(i), the Foundation’s letters sought the opportunity to inspect the following three broad

categories of records concerning each county board’s programs and activities related to the

registration and removal of suspected and actual non-U.S. citizens since 2006:

                 1.     Documents regarding all registrants who were identified as
         potentially not satisfying the citizenship requirements for registration from any
         official information source, including information obtained from the various
         agencies within the U.S. Department of Homeland Security, North Carolina
         Department of Motor Vehicles, and from the North Carolina State Board of
         Elections since January 1, 2006. This request extends to all documents that
         provide the name of theregistrant, the voting history of such registrant, the nature
         and content of any noticesent to the registrant, including the date of the notice,
         the response (if any) of the registrant, and actions taken regarding the registrant’s
         registration (if any) and the date of the action. This request extends to electronic
         records capable of compilation.
                 2.   All documents and records of communication received by your
         office from registered voters, legal counsel, claimed relatives, or other agents
         since January 1,2006 requesting a removal or cancellation from the voter roll for
         any reason related to non-U.S. citizenship. Please include any official records
         indicating maintenanceactions undertaken thereafter.
                 3.    All documents and records of communication received by your
         office from jury selection officials—state and federal--since January 1, 2006
         referencing individualswho claimed to be non-U.S. citizens when attempting to
         avoid serving a duty call.This request seeks copies of the official referrals and
         documents indicating where your office matched a claim of noncitizenship to an
         existing registered voter and extends to the communications and maintenance
         actions taken as a result that werememorialized in any written form.
        RESPONSE: The Foundation’s letters speak for themselves and are the best evidence

of their contents.


        33.     The request also provided specific examples of responsive documents,

including the “completed voter application form” for each registrant and “[a]ny documents

sent by your office to the voter to require that an affirmation of citizenship ornoncitizenship be


                                                  14
given in writing with responses included, where applicable.” The full scope of records sought

is available at Exhibit B.


        RESPONSE: The Foundation’s letters speak for themselves and are the best evidence

of their contents.



        34.     When the Foundation received no response to the requests, the Foundation

notified each county board on October 1, 2018 that it was in violation of the NVRA, copying

the State BOE on the correspondence. Exhibit C.

        RESPONSE: It is admitted that on October 1, 2018, the Foundation threatened legal

action regarding a records request. Otherwise, Defendant lacks knowledge or information

sufficient to form a belief about the truth of these allegations. Exhibit C speaks for itself and is

the best evidence of its contents.



         35.     On October 1, 2018, Patrick Gannon, Public Information Officer for the

 StateBOE, contacted the Foundation via email, stating,

                 We at the State Board of Elections & Ethics Enforcement hope to help
        facilitate a response to your recent records request to some of North Carolina’s
        county boards of elections, as our agency likely houses some of the data
        responsive to your request.
               We are aware of requests to two counties – Durham and Forsyth. Were
        additional requests made to other counties?

         Exhibit D at 4.

        RESPONSE: Admitted. Exhibit D speaks for itself and is the best evidence of its

contents.




                                                 15
       36.     On October 1, 2018, the Foundation made the State BOE aware of the third

pending records request—to Guilford County—and, on October 9, 2018, the Foundation asked

the State BOE to collect and provide “identical information” from the counties of

Mecklenburgand Buncombe. Exhibit D at 3-4. The requests for records of the county boards in

Durham, Forsyth, Guilford, Mecklenburg, and Buncombe are hereafter referred to collectively

as the “County Records Requests.”

       RESPONSE: Admitted. Exhibit D speaks for itself and is the best evidence of its

contents.



       37.     When no further correspondence was received from the State BOE, the

Foundation wrote to the State BOE via email on October 29, 2018, asking for an update on the

progress of the County Records Requests. Exhibit D at 3.

       RESPONSE: It is admitted that the Foundation wrote to the State Board via email on

October 29, 2018, asking for an update on the progress of the County Records Requests.

Defendant lacks information or knowledge sufficient to form a belief about why the

Foundation sent that email. Exhibit D speaks for itself and is the best evidence of its contents.



       38.     Later that day, the State BOE responded via email, assuring the Foundation that

the State BOE was “working on them” and “would hope to have a response to [the Foundation]

some time in November.” Exhibit D at 2.

       RESPONSE: Admitted. Exhibit D speaks for itself and is the best evidence of its

contents.




                                                16
       39.     The State BOE did not produce any records or further communicate with the

Foundation in November 2018.

       RESPONSE: It is admitted that a general election occurred in November 2018 and that

the State Board did not produce any records or further communicate with the Foundation

during that month.



       40.     Cognizant that the State BOE was facing uncertainty regarding the legality of

its composition5, the Foundation remained patient, and agreed to travel to State BOE offices to

conduct an in-person inspection of the requested records on January 11, 2019. On December

13,2018, the Foundation informed the State BOE via email of its plans to visit the State BOE

for aninspection. Exhibit D at 2.

       RESPONSE: Defendant lacks information or knowledge sufficient to form a belief

about the allegations in the first sentence, except it is expressly denied that anyone from the

State Board “agreed” with or even discussed with Plaintiff any plans to travel to the State

Board’s offices, to the extent that Plaintiff is suggesting this in the allegations. The

Foundation’s statements to the State Board via email on December 13, 2018 are contained in

Exhibit D, which speaks for itself and is the best evidence of its contents.



       41.     On or around January 9, 2019, the State BOE contacted the Foundation via

telephone to communicate that the scheduled in-person visit was not necessary because the




5
  Horsch, The News & Observer, The clock is ticking for elections board ruled
unconstitutional,but there’s a reprieve, Nov. 30, 2018,
https://www.newsobserver.com/news/politics- government/article222432185.html.

                                                  17
State BOE would begin production of records by the end of January—as agreed to by both

parties at the time. On January 9, 2019, the phone call was memorialized in an email, in which

the State BOE stated, “Working on the citizenship request now, per our discussion. I will send

records foryour additional request on a rolling basis as they are reviewed and redacted.”

Exhibit D at 2. Based on those representations, the Foundation cancelled its representative’s

flight to State BOEoffices. However, the State BOE did not produce any records or further

communicate with the Foundation by the end of January 2019.

       RESPONSE: It is admitted that on or around January 9, 2019, the State Board

contacted the Foundation via telephone to communicate that the scheduled in-person visit was

not necessary because the State Board would begin production of records—as agreed to by

both parties at the time. It is further admitted that on January 9, 2019, the phone call was

memorialized in an email from the State Board, a copy of which appears in Exhibit D, which

speaks for itself and is the best evidence of its contents. Defendant lacks information or

knowledge sufficient to form a belief about Plaintiff’s travel plans or any expected production

schedule. It is admitted that the State Board did not produce records or further communicate

with the Foundation by the end of January 2019, a time during which the State Board was

conducting a labor-intensive investigation into irregularities in the general election contest for

North Carolina’s Ninth Congressional District.



       42.     More than two months later, on April 10, 2019, the Foundation again wrote to

theState BOE via email to request an update on the progress of the County Records Requests,

stating, “We’re well-past the agreed time and are simply running out of runway. Please advise

asap.” Exhibit D at 1.


                                                 18
       RESPONSE: The Foundation’s email of April 10, 2019 is copied in Exhibit D, which

speaks for itself and is the best evidence of its contents.



       43.     Later than day, the State BOE responded via email, assuring the Foundation

that an “update” and records were imminently forthcoming, stating, “I will give you a full

update andhopefully start providing responsive documents tomorrow or Friday.” Exhibit D at

1. The State BOE did not produce any “update” or any records by Friday, April 12, 2019.

       RESPONSE: The State Board’s email of April 10, 2019 is copied in Exhibit D, which

speaks for itself and is the best evidence of its contents.



       44.     The Foundation waited for a response for nearly three additional weeks

beforeagain contacting the State BOE.

       RESPONSE: Defendant lacks information or knowledge sufficient to form a belief

as to the truth of these allegations, except that it is admitted that the Foundation again

contacted the State Board on April 30, 2019.



       45.     On April 30, 2019, the Foundation contacted Kim Westbrook Strach, then-

Executive Director of the State BOE and North Carolina’s Chief Election Official, by letter via

email and through the United States Postal Service. A copy of the letter, hereafter referred to

asthe “NVRA Violation Notice” is attached as Exhibit E. A copy of the email sent to then-

Executive Director Strach (and the general contact email for the State BOE—

Elections.SBOE@ncsbe.gov) attaching the NVRA Notice Letter is attached as Exhibit F.

       RESPONSE: Admitted.


                                                  19
        46.     Then-State BOE Chairman Robert Cordle received a copy of the NVRA

ViolationNotice via the United States Postal Service. Exhibit E at 3.

        RESPONSE: Defendant lacks information or knowledge sufficient to form a belief as

to the truth of these allegations.



        47.     The NVRA Violation Notice notified then-Executive Director Strach that the

Foundation has not received any responsive records from her office, despite repeated

assurancesthat production of records was imminently forthcoming. Exhibit E at 1.

        RESPONSE: The letter to Executive Director Strach of April 30, 2019 is included in

Exhibit E, which speaks for itself and is the best evidence of its contents.



        48.     The NVRA Violation Notice also notified then-Executive Director Strach that

therequested records are subject to disclosure under to the NVRA’s Public Disclosure

Provision, 52

U.S.C. § 20507(i). Exhibit E at 1.

        RESPONSE: The letter to Executive Director Strach of April 30, 2019 is included in

Exhibit E, which speaks for itself and is the best evidence of its contents.



        49.     The NVRA Violation Notice also notified then-Executive Director Strach that

theState BOE is in violation of the NVRA for failure to permit inspection and photocopying of

the requested records, as required by 52 U.S.C. § 20507(i). Exhibit E at 1.

        RESPONSE: The letter to Executive Director Strach of April 30, 2019 is included in

                                                 20
Exhibit E, which speaks for itself and is the best evidence of its contents.



         50.    A primary election for federal office in North Carolina was scheduled for and

didoccur on May 14, 2019.6

         RESPONSE: Admitted.



         51.    The NVRA violation described in this Complaint occurred and was

ongoingwithin 30 days of the federal election scheduled for May 14, 2019.

         RESPONSE: Denied.



         52.    For NVRA violations occurring within 30 days of an election for federal office,

there is no curative period. “The aggrieved person need not provide notice to the chief election

official of the State . . . before bringing a civil action ” 52 U.S.C. § 20510(b)(3).

         RESPONSE: These allegations are legal conclusions which require no response.



         53.    Although not required by the NVRA, the Foundation nevertheless provided

pre-litigation notice to then-Executive Director Strach—the Chief Election Official of North

Carolina, N.C. Gen. Stat. § 163-82.2—in an effort to resolve this dispute without court

intervention.

         RESPONSE: It is admitted that the Foundation sent a letter notifying Executive

Director Strach of its preparations to file a lawsuit. Defendant lacks information or

knowledge sufficient to form a belief as to Plaintiff’s intentions with this letter.



6
    https://s3.amazonaws.com/dl.ncsbe.gov/Elections/2019/District9Candidates.pdf.
                                               21
       54.     The NVRA Notice Letter informed then-Executive Director Strach and the

StateBOE that “[i]f the NVRA violation described herein is not corrected immediately, the

Foundation will pursue federal litigation to enforce its rights.” Exhibit E at 3.

       RESPONSE: The letter to Executive Director Strach of April 30, 2019 is included in

Exhibit E, which speaks for itself and is the best evidence of its contents.



       55.     On May 3, 2019, the Foundation received a letter and documents via email

from Josh Lawson, then-General Counsel for the State BOE. A copy of the letter is attached as

ExhibitG.

       RESPONSE: Admitted, except to clarify that documents were provided both as

enclosures with the State Board’s letter and via links in that letter, which permitted the

Foundation to access certain responsive materials online, because the records found at those

links exceeded 700 MB in file size and therefore would not have been transmittable via email.



       56.     The State BOE’s May 3 letter describes programs and activities conducted by

theState BOE to perform registration list maintenance with respect to suspected or actual

noncitizenregistrants and acknowledged that records of those programs and activities are

responsive to the Foundation’s requests. Exhibit G at 2-3.

       RESPONSE: The text of the State Board’s May 3, 2019 letter (without enclosures) is

included in Exhibit G, which speaks for itself and is the best evidence of its contents.



       57.     The May 3 letter further explained that the State BOE will not permit the


                                                 22
Foundation to inspect those records. Exhibit G at 2-3.

       RESPONSE: The text of the State Board’s May 3, 2019 letter (without enclosures) is

included in Exhibit G, which speaks for itself and is the best evidence of its contents.



       58.     The State BOE attached to its May 3 letter a small number of records it claimed

were responsive to the Foundation’s request.

       RESPONSE: It is admitted that the State Board attached to its May 3, 2019 letter

records, and provided links within that letter to other records. Otherwise denied.



       59.     The attached records included the State BOE’s Post-Election Audit Report for

General Election 2016 (the “2016 Audit”). Exhibit A.

       RESPONSE: Admitted.



       60.     The 2016 Audit describes programs and activities conducted for the purpose of

ensuring the accuracy and currency of official lists of eligible voters with respect to suspected

and actual noncitizens. Exhibit A at 3, 5-6, 9-10.

       RESPONSE: The 2016 Audit Report is included in Exhibit A, which speaks for itself

and is the best evidence of its contents.



       61.     The 2016 Audit refers to “[i]nformation obtained from those who are not

citizens,” Exhibit A at 6, and includes documents entitled “Sample Letter to Possible Non-U.S.

Citizen Voters,” Exhibit A at 29-30, and “Admission or Denial of Non-U.S. Citizen Return

Form,” Exhibit A at 31.


                                                 23
       RESPONSE: The 2016 Audit Report is included in Exhibit A, which speaks for itself

and is the best evidence of its contents.



       62.     The 2016 Audit also includes a document that indicates how many registered

noncitizens were identified in each North Carolina county. Exhibit A at 22-23. Each of the

counties from which records were requested had at least one noncitizen whose registration was

canceled in connection with the 2016 Audit. Id.

       RESPONSE: The 2016 Audit Report is included in Exhibit A, which speaks for itself

and is the best evidence of its contents. The allegations in the second sentence are admitted.



       63.     Records relating to the 2016 Audit were requested, are responsive to the County

Records Request, and must be made available for inspection under the NVRA’s Public

Disclosure Provision.

       RESPONSE: It is denied that records relating to the 2016 Audit were requested. It is

denied that the 2016 Audit Report is responsive to the County Records Request, since the 2016

Audit was conducted by the State Board. The last allegation is a legal conclusion which

requires no response.



       64.     Although the Foundation had already done so, the May 3 letter asked the

Foundation to “please indicate what records it now seeks.” Exhibit G at 3.

       RESPONSE: The text of the State Board’s May 3, 2019 letter (without enclosures) is

included in Exhibit G, which speaks for itself and is the best evidence of its contents. It is

denied that the Foundation had, at the time of the May 3 letter, explained what records it

                                                 24
 would seek in light of the State Board’s explanation of the legal restrictions on producing the

 records as originally requested and the public availability of registration records for all

 counties.



         65.    On May 9, 2019, the Foundation responded to the State BOE via letter, which

 explained why the State BOE’s decision to withhold the requested records is without

 justificationand explained that the State BOE “remains in violation of the NVRA.” Exhibit H

 at 2.

         RESPONSE: It is admitted that the Foundation responded to the State Board on May

 9, 2019, via a letter, a copy of which is included in Exhibit H, which speaks for itself and is the

 best evidence of its contents.



         66.    The May 9 letter further explained that the Foundation continues to seek all

 records responsive to its request and repeated the examples of such records, Exhibit H at 2,

 specifically referencing the records described in the 2016 Audit (Exhibit A).

         RESPONSE: The Foundation’s letter of May 9, 2019 is included in Exhibit H, which

speaks for itself and is the best evidence of its contents.



         67.    The Foundation informed the State BOE that its representative planned to visit

 theState BOE’s offices a week later, on May 16, 2019, to inspect and retrieve copies of the

 requested records. Exhibit H at 2.

         RESPONSE: Admitted.




                                                   25
        68.     On May 13, 2019, the Foundation received an email from Paul Cox, an

attorney in the North Carolina Attorney General’s Office, who claimed to represent the State

BOE. Exhibit I at 4-5. The State BOE stated it would not accommodate the Foundation’s

planned inspection due to the need to prepare for two upcoming special elections. Id. at 5.

Counsel for theState BOE proposed a phone call to discuss the Foundation’s records request

and provided thedays and times he would be available the following week. Id. at 5.

        RESPONSE: It is admitted that the undersigned counsel for the State Board sent an

email to a representative of the Foundation on May 13, 2019, a copy of which is included in

Exhibit I, which speaks for itself and is the best evidence of its contents.



        69.     The Foundation was forced to rearrange its travel plans to accommodate the

schedule of the State BOE and its counsel.

        RESPONSE: Defendant lacks information or knowledge sufficient to form a belief as

to the truth of these allegations.



        70.     In a letter dated May 14, 2019, the Foundation informed the State BOE that its

representative now planned to visit the State BOE’s offices the week following the special

election and on a day when Mr. Cox stated he was available—May 23, 2019. Exhibit J.

        RESPONSE: It is admitted that the Foundation responded to the undersigned

counsel’s email in a letter dated May 14, 2019, a copy of which is included in Exhibit J, which

speaks for itself and is the best evidence of its contents. It is denied that the undersigned

counsel stated that he was available for an in-person meeting on May 23, 2019.




                                                 26
          71.     A week later, and two days before the Foundation’s scheduled travel to State

BOEoffices, counsel for the State BOE stated in an email that the State BOE would mail

responsive records to the Foundation on a hard drive. Exhibit I at 3-4. Counsel did not describe

the records or state whether the State BOE was continuing to withhold responsive records as

described in its May 3 letter.

          RESPONSE: It is admitted that counsel for the State Board sent an email to a

representative of the Foundation on May 21, 2019, a copy of which is included in Exhibit I,

which speaks for itself and is the best evidence of its contents. Defendant lacks information or

knowledge sufficient to form a belief as to the truth of the allegations regarding Plaintiff’s

travel.



          72.     The next day, May 22, 2019, the Foundation responded via email, stating,

                  I cannot presently assess whether the records satisfy the request in full.
          Because my travel is already booked, I believe the best way to proceed is to
          retrieve the records in person, as planned. That way I can review what was
          compiled and resolve any outstanding issues in person. Hopefully, that will allow
          us to conclude this matter as quickly as possible.
                  My plan is to arrive at the offices of the State Board at 10:00 am. If you
          prefer to be present and if another meeting location is preferable, please let me
          know as soonas possible.

Exhibit I at 3.

          RESPONSE: It is admitted that the Foundation responded via email on May 22, 2019,

an email which is included in Exhibit I, which speaks for itself and is the best evidence of its

contents.



          73.     Counsel for the State BOE did not respond to the Foundation’s May 22, 2019

email.
                                                  27
       RESPONSE: Denied.



       74.     On May 22, 2019, the Foundation’s representative traveled from Indianapolis,

Indiana to Raleigh, North Carolina, and the following day, visited the State BOE’s offices, as

planned and as was communicated to the State BOE on May 14, 2019.

       RESPONSE: It is admitted that the Foundation’s representative visited the State

Board’s offices on May 23, 2019, as the Foundation’s representative had indicated he would in

a letter dated May 14, 2019. Defendant lacks information or knowledge sufficient to form a

belief as to the truth of the remaining allegations.



       75.     When the Foundation’s representative arrived, an administrative assistant gave

him an envelope containing a cover letter, dated May 22, 2019, and a hard drive.

       RESPONSE: It is admitted that when the Foundation’s representative arrived, they

were provided an envelope containing a cover letter, dated May 22, 2019, and a hard drive.

Otherwise, Defendant lacks information or knowledge sufficient to form a belief as to the truth

of these allegations.



       76.     The Foundation’s representative asked to speak with then-General Counsel Josh

Lawson, who informed the Foundation that he could not discuss the Foundation’s records

requestfurther and referred the Foundation’s representative to the State BOE counsel, Paul

Cox.

       RESPONSE: It is admitted that the Foundation’s representative asked to speak to then-

General Counsel Josh Lawson, and Mr. Lawson referred the Foundation’s representative to the

                                                  28
State Board’s litigation counsel, Paul Cox, pursuant to N.C. R. Prof’l Conduct 4.2. Otherwise

denied.



          77.    The hard drive provided to the Foundation on May 23, 2019 did not contain the

requested records. With limited exception, the hard drive contained the same incomplete set of

records provided via email on May 3, 2019.

          RESPONSE: Denied. It is admitted that the hard drive contained the records that the

Foundation was provided via email and hyperlink previously, with some additional records.



          78.    The May 22 cover letter that accompanied the hard drive explained, “For

further background, I refer you to the May 3, 2019 letter from Board of Elections General

Counsel JoshLawson that was addressed to you.” Exhibit K.

          RESPONSE: The May 22, 2019 cover letter from the State Board’s counsel is

included in Exhibit K, which speaks for itself and is the best evidence of its contents.



          79.    While still in Raleigh, North Carolina, the Foundation’s representative

contactedthe State BOE’s counsel via email and asked to meet in person to discuss the

Foundation’s request for records. Exhibit I at 3.

          RESPONSE: It is admitted that the Foundation’s representative contacted the State

Board’s counsel via email on May 23, 2019 in which he asked for a meeting on the same day.

A copy of this email is included in Exhibit I, which speaks for itself and is the best evidence of

its contents.




                                                 29
        80.     The State BOE’s counsel responded that he could not meet due to deadlines and

child care. Exhibit I at 2.

        RESPONSE: The State Board counsel’s response is included in Exhibit I, which

speaks for itself and is the best evidence of its contents.



        81.     On May 29, 2019, the Foundation spoke via telephone with the State BOE’s

counsel. During that call, the Foundation asked whether the State BOE is continuing to

withhold records under the position stated in the May 3, 2019 letter from then-General

Counsel Josh Lawson (Exhibit G), or whether the State BOE will permit inspection of the

records as requested.State BOE counsel stated that he needed additional time to confirm his

client’s position. Exhibit Iat 1 (email memorializing telephone call).

        RESPONSE: It is admitted that on May 29, 2019, a representative of the Foundation

spoke via telephone with the State Board’s counsel. The description of that call in these

allegations is incomplete and therefore misleading; the allegations regarding the contents of

that call are therefore denied.



        82.     On June 7, 2019, counsel for the State BOE left a voicemail for the Foundation,

inwhich he indicated that the State BOE is standing by its previously-stated position—that taken

in its May 3 letter (Exhibit G)—that the Foundation is not entitled to inspect the requested

records.

        RESPONSE: It is admitted that on June 7, 2019, counsel for the State Board called the

Foundation’s representative and left a voicemail, in which he confirmed the State Board’s

position that records revealing the identities of individuals investigated by the State Board as


                                                  30
potentially being noncitizens would not be produced, for the reasons set forth in the State

Board’s prior letter to the Foundation. It is further clarified that the specific issue the State

Board’s counsel was confirming prior to this voicemail was the status of records revealing the

identities of such individuals.




        83.     It has now been 326 days since the Foundation first requested access to public

voter list maintenance records in the possession of North Carolina election officials.

        RESPONSE: Denied.



        84.     The Foundation has spent considerable time and financial resources in an effort

toobtain the requested records without the need for judicial intervention.

        RESPONSE: Defendant lacks information or knowledge sufficient to form a belief as

to the truth of these allegations.



        85.     Despite those efforts, the State BOE is denying the Foundation’s request for

inspection of records pursuant to the NVRA’s Public Disclosure Provision.

        RESPONSE: It is admitted that at the time this lawsuit was filed, the State Board

would not disclose certain records because those records were protected by law from

disclosure, although it is denied that those records were responsive to the Foundation’s

requests. It is admitted that the Foundation’s requests invoked the NVRA’s Public Disclosure

Provision. Whether the withheld records are actually covered by that provision is a legal

conclusion which requires no response.



                                                  31
         86.    The records requested from the State BOE are records “concerning the

implementation of programs and activities conducted for the purpose of ensuring the accuracy

and currency of official lists of eligible voters” 52 U.S.C. § 20507(i)(1).

         RESPONSE: It is denied that the Foundation requested records from the State Board.

Whether the records the Foundation requested fit within the quoted language of this allegation

is a legal conclusion which requires no response.



         87.    Under the NVRA, the State BOE is obligated to make the requested records

available for public inspection and photocopying. Id.

         RESPONSE: These allegations are legal conclusions which require no response.



         88.    The State BOE has not done so and is therefore in violation of law. 52 U.S.C. §

20510.

         RESPONSE: Denied.



         89.    The State BOE’s violation of the NVRA occurred within 30 days of an election

for federal office and the violation is ongoing. Therefore, there is no pre-litigation notice

requirement. 52 U.S.C. § 20510(b)(3).

         RESPONSE: Denied.



         90.    However, North Carolina’s Chief Election Official was sent and received notice

on April 30, 2019 that the State BOE was violating the NVRA. Exhibits E and F. Even if the

20-day curative period provided by 52 U.S.C. § 20510(b)(2) applied, the notice requirement

                                                 32
has been satisfied. See Voter Integrity Project NC, Inc. v. Wake Cty. Bd. of Elections, 301 F.

Supp.3d 612, 617 n.4 (E.D.N.C. 2017).

        RESPONSE: It is admitted that North Carolina’s chief election official was sent and

received a notice of the Foundation’s belief that the State Board was violating the NVRA on

April 30, 2019. The remaining allegations are legal conclusions which require no response.




       91.      “[A] plaintiff suffers an ‘injury in fact’ when the plaintiff fails to obtain

information which must be publicly disclosed pursuant to a statute.” FEC v. Akins, 524 U.S. 11,

21 (1998). The Foundation is suffering a clear informational injury as a direct result of the State

BOE’s violations of the NVRA because the State BOE has denied the Foundation access to the

records to which it is entitled under the law. This injury is ongoing.

        RESPONSE: These allegations are legal conclusions which require no response,

although it is denied that the State Board has violated the Foundation’s rights, to the extent that

is implied in these allegations.



        92.     The State BOE’s actions have also frustrated and harmed the Foundation’s

organizational mission.

        RESPONSE: Defendant lacks information or knowledge sufficient to form a belief as

to the truth of these allegations.



        93.     As an integral part of its public interest mission, the Foundation gathers and

disseminates information about compliance by state and local officials with federal election

statutes, including election integrity statutes.
                                                   33
        RESPONSE: Defendant lacks information or knowledge sufficient to form a belief as

to the truth of these allegations.



        94.     Using records and data compiled through use of the NVRA’s Public Disclosure

Provision, the Foundation has produced written reports concerning the registration and voting

activity of noncitizens. The Foundation publishes and disseminates these reports as part of its

mission.

        RESPONSE: It is admitted that Plaintiff has used records and data obtained from

official sources to produce written reports concerning the registration and voting activity of

noncitizens. Otherwise, Defendant lacks information or knowledge sufficient to form a belief

as to the truth of these allegations.



        95.     The Foundation publicizes its work through media and press sources.

Representatives of the Foundation appear on national television programs and in widely

circulated newspapers of record to discuss the inadequacies of state election systems in

preventing noncitizens from registering and voting. The Foundation believes that keeping

voter rolls free of ineligible registrants requires full transparency of government agencies. By

denying the Foundation access to the requested records the State BOE has impaired and will

impair theFoundation from carrying out its mission.

        RESPONSE: It is admitted that the Foundation publicizes its work through media and

press sources. Otherwise, Defendant lacks information or knowledge sufficient to form a

belief as to the truth of these allegations.




                                                34
        96.     A central activity of the Foundation is to promote election integrity and

compliance with federal and state statutes that are designed to improve the accuracy of voter

rolls across the country. The State BOE’s violations of NVRA have impaired and will impair

theFoundation from carrying out this its mission.

        RESPONSE: Defendant lacks information or knowledge sufficient to form a belief as

to the truth of these allegations.



        97.     The failure of the State BOE to comply with its obligations under the NVRA

has also undermined the confidence of North Carolina’s properly registered voters in the

integrity ofthe voter registration rolls, and, accordingly, has undermined the integrity of

elections held across the State of North Carolina.

        RESPONSE: Denied.



        98.     The State BOE has not cured its violation of the NVRA.

        RESPONSE: Denied.



        99.     The State BOE’s failure to permit inspection and duplication of the requested

records pursuant to the NVRA is causing the Foundation to suffer an informational injury and

has further frustrated, impeded and harmed the efforts of the Foundation.

        RESPONSE: It is denied that the State Board failed to permit inspection or duplication

of the requested records. It is further denied that the State Board’s records revealing the

identities of individuals the State Board had investigated for potentially being noncitizens are

required to be disclosed under the NVRA; these records were not requested, in any event.


                                                 35
Otherwise, Defendant lacks information or knowledge sufficient to form a belief as to the truth

of these allegations.

                                             COUNT I

        100.   Plaintiff realleges paragraphs 1 through 99 as if fully stated herein.

        RESPONSE: Defendant repleads its responses to the cited paragraphs.



        101.   Defendants have failed to permit inspection and duplication of records

concerningDefendants’ implementation of programs and activities conducted to ensure the

accuracy and currency of the official lists of eligible registrants, in violation of Section 8 of the

NVRA, 52 U.S.C. § 20507(i). See Project Vote v. Long, 682 F.3d 331, 334-335 (4th Cir. 2012)

(The NVRArequires election officials to provide such records to the public).

        RESPONSE: Denied.



        102.   Defendants have not cured their violation of law.

        RESPONSE: Denied.



        103.   Plaintiff is suffering an ongoing informational injury as a direct result of

Defendants’ violations of Section 8 of the NVRA because the Plaintiff does not have the data

and records requested. The NVRA confers upon Plaintiff a right to information, and by

denyingthat information to the Plaintiff, the Defendants have caused a concrete injury to the

Plaintiff.

        RESPONSE: Denied.




                                                  36
       104.   Plaintiff will continue to be injured by the Defendants’ violations of Section 8

ofthe NVRA unless and until the Defendants are enjoined from continuing to violate the law.

       RESPONSE: Denied.



       105.   Plaintiff has no adequate remedy at law.

       RESPONSE: This allegation is a legal conclusion which requires no response.



       WHEREFORE, Defendant requests the following:

              1.      That the Amended Complaint be dismissed;

              2.      That Plaintiff have and recover nothing from Defendant;

              3.      That costs of this action, including a reasonable attorney’s fee, be taxed to

                      Plaintiff; and

              4.      For such other relief to Defendant as the Court deems just and proper.

       This the 15th day of June, 2021.

                                                    JOSHUA H. STEIN
                                                    Attorney General

                                                    /s/ Paul M. Cox
                                                    Paul M. Cox
                                                    Special Deputy Attorney General
                                                    N.C. State Bar No. 49146
                                                    Email: pcox@ncdoj.gov
                                                    N.C. Department of Justice
                                                    Post Office Box 629
                                                    Raleigh, NC 27602-0629
                                                    Telephone: (919) 716-6900
                                                    Fax: (919) 716-6750

                                                    Counsel for Defendant Karen Brinson Bell




                                               37
